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 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   JASON HITT
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2751
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           Case No. CR-S-08-0123 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND [PROPOSED]
                                   )           ORDER CONTINUING JUDGMENT AND
13        v.                       )           SENTENCING FOR DEFENDANT
                                   )           SERAFIN GONZALEZ
14   SERAFIN GONZALEZ, and         )
     MIGUEL VALENICA,              )
15                                 )
                    Defendants.    )
16   ______________________________)
17        Plaintiff, United States of America, by its counsel, Assistant
18   United States Attorney Jason Hitt, and defendant Serafin GONZALEZ, by
19   his counsel Robert Peters, Esq., hereby stipulate and agree that the
20   judgment and sentencing currently set for Friday, February 20, 2009,
21   at 9:00 a.m. should be continued to Friday, March 20, 2009, at
22   9:00 a.m.
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /
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 1        The requested continuance is based upon the need of government
 2   counsel to draft a sentencing letter for the Court’s review prior to
 3   sentencing.
 4
 5                                              Respectfully Submitted,
 6                                              LAWRENCE G. BROWN
                                                United States Attorney
 7
 8   DATED:     February 26, 2009         By:   /s/Jason Hitt
                                                JASON HITT
 9                                              Assistant U.S. Attorney
10
11   DATED:     February 26, 2009         By:   /s/Jason Hitt
                                                Telephonically authorized to sign
12                                              for Mr. Peters on 02-17-09
                                                ROBERT PETERS, Esq.
13                                              Attorney for Serafin GONZALEZ
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 1                                          ORDER
 2        Based upon the representations and stipulation of counsel, IT IS
 3   HEREBY ORDERED that the judgment and sentencing set for February 20,
 4   2009, at 9:00 a.m., is continued to March 20, 2009, at 9:00 a.m.
 5   Dated:     February 26, 2009
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 7                                       GARLAND E. BURRELL, JR.
 8                                       United States District Judge

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